991 F.2d 789
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John F. GREENE, Plaintiff-Appellant,v.Lou Ann WHITE;  D. D. Larsen;  Edward W. Murray;  ClarenceJackson, Defendants-Appellees.
    No. 92-6832.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  January 14, 1993Decided:  April 12, 1993
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (CA-92-213-R)
      John F. Greene, Appellant Pro Se.
      Robert Harkness Herring, Jr., Assistant Attorney General, Richmond, Virginia, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before WILKINSON, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      John F. Greene appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  Greene v. White, CA-92-213-R (W.D. Va.  July 31, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         Greene's motion for appointment of counsel is denied
      
    
    